Case 3:11-cr-00128-HEH-RCY Document 124 Filed 01/16/15 Page 1 of 9 PageID# 1867




                         IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF VIRGINIA
                                        Richmond Division


 UNITED STATES OF AMERICA

 V.                                                   Criminal No.: 3:11CR128-1-HEH
                                                      Civil Action No.: 3:12CV799-HEH
 AYODELE ADEWALE ONASANYA,

           Petitioner.


                                   MEMORANDUM OPINION
         (Motion under 28 U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence)

           Petitioner Ayodele Adewale Onsanya ("Onasanya"), a federal inmate proceeding

 pro se, entered a plea of guilty in this Court on September 19, 2011, to Conspiracy to

 Commit Bank Fraud, in violation of 18 U.S.C. § 1349, pursuant to a plea agreement. On

 December 19, 2011, Onasanya was sentenced to 87 months of imprisonment, followed by

 five years of supervised release. He was also ordered by the Court to pay restitution in

 the amount of $349,538.54. Onasanya neither noted nor perfected an appeal to the

 United States Court ofAppeals for the Fourth Circuit.^ Onasanya is currently serving his
 sentence at the Federal Correctional Institution Gilmer in Glenville, West Virginia.

           The case is presently before the Court on Onasanya's Motion to Vacate, Set Aside,

 or Correct Sentence Pursuant to 28 U.S.C. § 2255 ("§ 2255 Mot.", ECF No. 98), which

 was timely filed. The United States has filed a memorandum supporting its position

 opposing the relief sought by Onasanya. Although Onasanya styles his claims as

 ineffective assistance of counsel, they are, in essence, a thinly cloaked vehicle for


      Onasanya's plea agreement contained a specific provision waiving his right of appeal.
Case 3:11-cr-00128-HEH-RCY Document 124 Filed 01/16/15 Page 2 of 9 PageID# 1868




 challenging the application ofcertain sentencing guideline enhancements in his case.
 The record inthis case fails to support any of Onasanya's contentions. His perception of

 ineffectiveness flows from his misunderstanding of the law and misconstruction of the

 evidence.


        This Court's analysis begins with recognition of the well-settled principle that

 unless a claim alleges a lack ofjurisdiction or constitutional error, the scope of collateral

 review is limited. Stone v. Powell^ 428 U.S. 465, All n.lO (1976). As Chief Justice

 Rehnquist noted in Brecht v. Abrahamson, "the writ ofhabeas corpus has historically
 been regarded as an extraordinary remedy, a bulwark against convictions that violate
 fundamental fairness       Accordingly, it hardly bears repeating that an error that may

 justify reversal on direct appeal will not necessarily support a collateral attack on a fmal
 judgment." 507 U.S. 619, 633-34 (1993) (internal quotation marks and citations
 omitted). Accordingly, errors of law do not typically provide a basis for habeas relief
 under 28 U.S.C. § 2255 unless it constitutes "a fundamental defect which inherently

 results in a complete miscarriage ofjustice . ..." United States v. Timmreck, 441 U.S.

  780, 783 (1979).

         The overarching claim in Onasanya's petition is that he received ineffective

  assistance from his trial counsel during the sentencing proceeding. He contends that

  counsel (1) failed to object to his failure to receive one additional point for acceptance of
  responsibility under U.S. Sentencing Guideline ("U.S.S.G.") § 3El.l(b); (2) omitted to

  bring to the Court's attention Onasanya's eligibility for a safety value reduction under

  U.S.S.G. § 5C1.2(a)(5); (3) offeredno objection to the assessment of two criminal history
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Case 3:11-cr-00128-HEH-RCY Document 124 Filed 01/16/15 Page 3 of 9 PageID# 1869




 points for having been convicted ofthe offense before the Court within two years of
 release from confinement; and (4) failing to counsel Onasanya to note an appeal of those

 alleged sentencing errors by the trial court.

        To demonstrate ineffective assistance of counsel, a defendant must show first that

 counsel's representation was deficient, and second, that the deficient performance

 prejudiced the defense. Strickland v. Washington, 466 U.S. 668, 687 (1984). To satisfy
 the deficient performance prong of Strickland, a defendant must overcome the"'strong

 presumption' that counsel's strategy and tactics fall 'within the wide range ofreasonable
 professional assistance.'" Burch v. Corcoran, 273 F.3d 577, 588 (4th Cir. 2001) (quoting
 Strickland, 466 U.S. at 689). The prejudice component requires a defendant to "show

 thatthere is a reasonable probability that, but for counsel's unprofessional errors, the

 result of the proceeding would have been different. A reasonable probability is a
 probability sufficient to undermine confidence in the outcome." Strickland, 466 U.S. at
 694. In analyzing ineffective assistance of counsel claims, it is not necessary to

 determine whether counsel performed deficiently if the claim is readily dismissed for lack

 of prejudice. Id, at 697. To prevail, petitioner must demonstrate a "reasonable

 probability of a different outcome." Lenz v. Washington, 444 F.3d 295, 303 (4th Cir.

 2006) (internal quotation marks and citations omitted).

        At the time of his guilty plea, as well as during the sentencing proceedings,

 Onasanya was represented by two attorneys whomhe retained—Kevin J. Keating,

 Esquire, a member of the New York bar, and James Maloney, Esquire, who practices
Case 3:11-cr-00128-HEH-RCY Document 124 Filed 01/16/15 Page 4 of 9 PageID# 1870




 regularly before the United States District Court for the Eastern District ofVirginia and

 served as local counsel.

        In his first claim, Onasanya challenges the wisdom of trial counsel in not

 strenuously objecting to his failure to receive a third point for acceptance of

 responsibility, pursuant to U.S.S.G. § 3El.l(b). That section ofthe guidelines, entitled
 "Acceptance of Responsibility" provides as follows:

        If the defendant qualifies for a decrease under subsection (a), the offense
        level determined prior to the operation of subsection (a) is level 16 or
        greater, and upon motion of the government stating that the defendant has
        assisted authorities in the investigation or prosecution of his own
        misconduct by timely notifying authorities ofhis intention to enter a plea of
        guilty, thereby permitting the government to avoid preparing for trial and
        permitting the government and the court to allocate their resources
        efficiently, decrease the offence level by 1 additional level,

 U.S.S.G. §3E1.1(b).

        By letter dated August 10, 2011, the United States informed defense counsel that
 in order to receive the extra point reduction provided by U.S.S.G. § 3ELl(b), the

 defendant must enter a plea of guilty no later than September 2, 2011. This deadline,

 according to the letter, was necessary in order for the government to avoid extensive trial
 preparation. (Gov't's Resp. to §2255 Mot., Ex. A, ECF No. 102-1.) As the trial record
 reflects, the defendant entered his plea of guilty on the morning of his scheduled jury

 trial. Therefore, Onasanya was not entitled to the additional one point reduction, and no

  argument of counsel could have persuaded the Court to the contrary.

         It appears from his nebulous and disjointed memorandum that Onasanya confuses
  a reduction in sentence for acceptance of responsibility with a reduction based upon
Case 3:11-cr-00128-HEH-RCY Document 124 Filed 01/16/15 Page 5 of 9 PageID# 1871




substantial assistance. During the sentencing hearing, the Court was advised by the

United States that Onasanya had been debriefed that morning and that a future reduction

for substantial assistance under Federal Rule of Criminal Procedure 35 was possible. The

Court did advise Onasanya at that time that should he elect to provide such cooperation,

he would receive full credit.^ No motion under Rule 35 was filed in this case.

       Although difficult to comprehend fully as presented, Onasanya also argues that his

trial counsel failed to press the Court for a reduction of his criminal history category

based upon the so-called "safety value" provided under U.S.S.G. § 5C1.2. This section,

entitled "Limitation on Applicability of Statutory Minimum Sentences in Certain Cases,"

enables defendants who meet certain specified criteria and who are charged under 21

U.S.C. § 841, etseq., with drug trafficking offenses carrying a mandatory minimum

sentence, to receive a sentence below the minimum required by statute. Application of

this provision is quite limited and, obviously, Onasanya did not qualify for such

treatment. Any motion raised by his trial counsel seeking such relief would have been

futile, if not absurd.




^The statement to Onasanya was as follows:
       I also want to tell you that should you decide - and it's strictly your decision to
       make - to provide substantial assistance to the United States, you will get credit
       for everything you do. That's your decision that you have to make. I think that's
       one of the true indications of contrition. Because when you come forward and
       cooperate and help them protect other people's credit from being ruined and their
       money stolen, that gives a signal to the people you've been involved with that you
       don't want to be involved anymore. And to me it sends a very strong signal that
       you've had a change of heart.

(Gov't's Resp. to § 2255 Mot., Ex. B at 9.)
Case 3:11-cr-00128-HEH-RCY Document 124 Filed 01/16/15 Page 6 of 9 PageID# 1872




       The next facet of his ineffective assistance of counsel claim is equally ill-
conceived. Onasanya finds fault with his counsels' failure to oppose a two-point

enhancement to his criminal history category for having "committed the instant offense

less than two years after release from imprisonment." U.S.S.G. § 4Al,l(e) (2009 Ed.).

Onasanya argues that as a result of receiving this two point increase, it elevated his

Criminal History Category from III to IV, resulting in a sentencing range of 70 to 87

months, rather than 51 to 70 months. Onasanya maintains that his counsel was

ineffective for failing to advise the Court that § 4A1.1(e) had been repealed more than

one year prior to the date of Onasanya's sentencing.

       The only portion of Onasanya's argument on firm factual footing was his receipt

of a two level increase in criminal history points. The points, however, were not accessed

under § 4A 1.1(e) for conviction two years after release from confinement. The additional

points were levied under § 4ALl(d), which provides for two additional points "if the

defendant committed the instant offense while under any criminaljustice sentence,

includingprobation, parole, supervised release, imprisonment, work release, or escape

status." U.S.S.G. § 4Al.l(d) (2011 Ed.). Worksheet C of Onasanya's presentence

report, paragraph 5 states, "On March 15, 2006, the defendant was sentenced to 16

months imprisonment and 5 years supervised release for a conviction of Bank Fraud.

The defendant was released from custody on July 5, 2007, and he was serving this term

of supervisedrelease when he committed the instant offense." (Presentence Report at 33,

ECF No. 61.)
Case 3:11-cr-00128-HEH-RCY Document 124 Filed 01/16/15 Page 7 of 9 PageID# 1873




       The United States probation officer determined that Onasanya had eight criminal

history points placing him in Criminal History Category IV. He received three criminal

history points for his 2000 conviction in the United States District Court for the Eastern

District of New York, for attempting to possess fifteen or more unauthorized credit card

numbers. Four years later, in 2004, he was convicted of bank fraud in the United States

District Court for the Eastern District of New York and received a sentence of sixteen

months of confinement, followed by five years of supervised release. Since his offense in

the immediate case occurred during that five year period of supervised release, he was

assessed two additional points. Given the obvious accuracy of the probation officer's

computation of Onasanya's criminal history, trial counsel had no grounds to interpose an

objection.

       Viewing the record as a whole, Onasanya fails to demonstrate that his trial

counsels' representation fell below an objective standard of reasonableness. Counsels'

tactical decisions appeared well-calculated and based on sound judgment. Decisions

pertaining to "trial strategy and tactics such as what evidence should be introduced, what

stipulation should be made, what objection should be raised," resided with trial counsel.

Sexton V. French, 163 F.3d 874, 885 (4th Cir. 1998) (internal quotation marks and

citation omitted); see also UnitedStates v. Chapman, 593 F.3d 365, 368 (4th Cir. 2010).

Winnowing out weak arguments is a hallmark of good advocacy. Smith v. South

Carolina, 882 F.2d 895, 899 (4th Cir. 1989).

       Furthermore, to prevail under 28 U.S.C. § 2255, Onasanya must "show that there

is a reasonable probability that, but for counsel's unprofessional errors, the result of the

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Case 3:11-cr-00128-HEH-RCY Document 124 Filed 01/16/15 Page 8 of 9 PageID# 1874




proceeding would have been different. A reasonable probability is a probability

sufficient to undermine confidence in the outcome." Strickland, 466 U.S. at 694. Not

only has Onasanya failed to show deficient representation by his counsel, but also failed

to demonstrate the probability ofa different outcome had counsel misguidedly pursued
the suggestions belatedly offered by Onasanya. In fact, a different outcome would have

literally been a legal impossibility.

       Despite Onasanya's challenges to the wisdom andjudgmentof his counsel, he has

not demonstrated that their performance was inadequate, ineffective, or prejudicial.

Onasanya's Motion to Vacate, Set Aside, or Correct Sentence Pursuant to 28 U.S.C. §
2255 will therefore be denied.

       An appeal may not be taken from the final order in a § 2255 proceeding unless a

judge issues a certificate of appealability ("COA"). 28 U.S.C. § 2253(c)(1)(B). A COA

will not issue unless a prisoner makes "a substantial showing of the denial of a

constitutional right." 28 U.S.C. § 2253(c)(2). This requirement is satisfied only when

"reasonable jurists could debate whether (or, for that matter, agree that) the petition

should have been resolved in a different manner or thatthe issues presented were

'adequateto deserve encouragement to proceed further.'" Slack v. McDaniel, 529 U.S.

473, 484 (2000)            Barefoot v. Estelle, 463 U.S. 880, 893 & n.4 (1983)). Onasanya

has not satisfied this standard. Accordingly, a certificate of appealability will be denied.
Case 3:11-cr-00128-HEH-RCY Document 124 Filed 01/16/15 Page 9 of 9 PageID# 1875




        An appropriate Order will accompany this Memorandum Opinion.



                                                         /s/
                                             Henry E. Hudson
                                             United States District Judge

Date:            2.0fS
Richmond, VA
